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           In the United States Court of Federal Claims
                                         No. 21-1695C
                                    Filed: November 4, 2021


 BLUE ORIGIN FEDERATION, LLC,

                    Plaintiff,

 v.

 UNITED STATES,

                   Defendant,

 and

 SPACE EXPLORATION
 TECHNOLOGIES CORP.,

                   Defendant–Intervenor.


                                  ORDER OF JUDGMENT

        For the reasons assigned in the Memorandum Opinion filed concurrently with this Order
of Judgment, the defendant’s motion to dismiss (ECF 60) under Rule 12(b)(1) and Rule 12(b)(6)
of the Rules of the Court of Federal Claims is GRANTED. The defendant’s motion for
judgment on the administrative record (ECF 60) under Rule 52.1 of the Rules of the Court of
Federal Claims is GRANTED. The defendant–intervenor’s motion for judgment on the
administrative record (ECF 62) is GRANTED. The plaintiff’s motion for judgment on the
administrative record (ECF 61) is DENIED.

        So that the Court may release the opinion publicly, the parties shall meet and confer and
jointly propose redactions to the Memorandum Opinion by November 18, 2021. Until the Court
releases the opinion publicly, the parties are reminded that the protective order remains in force
and they shall not disclose either the opinion or any portion of the opinion to any person not
admitted to the protective order.

       The Clerk is DIRECTED to enter judgment for the defendant and defendant–intervenor
in accordance with the Memorandum Opinion and this Order and to close the case. No costs are
awarded.

       It is so ORDERED.

                                                                   s/ Richard A. Hertling
                                                                   Richard A. Hertling
                                                                   Judge
